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My name is Mike Nordean, owner of Wally’s Chowder House and Wally’s Drive-in. | want to address some
serious comments being shared on the Internet and in local social media groups - some true and some not -
involving the extreme activist group my son, Ethan, has embraced.

Let me say right off the bat that | love my son. That said, | admit that | was slow to recognize how radical and
violent that group is. Those beliefs are NOT the values shared by my family, my businesses, and this community.
Writing this is not easy, in part because of the personal guilt and frustration | feel for not paying closer attention
and in part because | was frankly naive.

My son, Ethan, is involved with an extremist group called the “Proud Boys.” Hindsight, as they say, is 20/20.
Until very recently, my wife and | were blind to the ideology that our son supports. We were told by our son that
this group was a “patriotic” group that were “protectors” who stood up for freedom of speech and traditional
values. We regretfully believed him.

In light of recent social events, our eyes have been opened. We have reached out to our employees and those in
our community who are understandably concerned to reassure them that we are listening, and to tell them that
OUR values and the core values of our businesses are respect, decency, and open communication.

Because there have been rumors floating, let me be clear: Ethan no longer works for our restaurants. We do not
share his misguided beliefs. We are disappointed and appalled that he has chosen this path.

| want to say clearly that our restaurants respect diversity. Period. We reserve the right to refuse service, and
members of hate groups are not welcome in our establishments.

Finally, Des Moines has always been my home and | know it as a place of tolerance and grace. We hope you will
continue to support our restaurants, our great employees, and this community.
